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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                                     Case No. 16-Cr-20549-Scola(s)(s)(s)


   UNITED STATES OF AMERICA

   vs.

   PHILIP ESFORMES,


                     Defendant.
   ____________________________________________ /

                      UNITED STATES’ MOTION FOR PRELIMINARY ORDER
                      OF FORFEITURE OF DIRECTLY FORFEITABLE ASSETS

              Pursuant to 18 U.S.C. § 982(a)(1), and the procedures set forth in 21 U.S.C. § 853 and Fed.

   R. Crim. P. 32.2, the United States of America (the “United States” or the “Government”), by and

   through the undersigned Assistant United States Attorney, hereby moves for the entry of a

   Preliminary Order of Forfeiture of Directly Forfeitable Assets against Defendant PHILIP

   ESFORMES (the “Defendant”) in the above-captioned matter. Specifically, the United States

   seeks to memorialize the Court’s order of forfeiture entered upon the Government’s ore tenus

   motion on September 12, 2019. See Paperless Entry, ECF No. 1385. In support of this motion, the

   United States provides the following factual and legal bases.

         I.    FACTUAL BACKGROUND AND PROCEDURAL HISTORY

              On July 19, 2018, a federal grand jury sitting in the Southern District of Florida returned a

   thirty-six (36) count third superseding true bill of indictment [ECF No. 869](the “Third

   Superseding Indictment”) charging the Defendant, and others, with the following violations: 18

   U.S.C. § 1349 (Conspiracy to Commit Healthcare Fraud/Wire Fraud)(Count 1); 18 U.S.C. § 1347

   (Healthcare Fraud)(Counts 2-3); 18 U.S.C. § 1035(a)(2) (False Statements Relating to Healthcare
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   Matters)(Counts 4-5); 18 U.S.C. § 371 (Conspiracy to Pay/Receive Healthcare Kickbacks)(Count

   6); 42 U.S.C. § 1320a-7b(b)(1)(A) (Receipt of Healthcare Kickbacks)(Counts 7-9); 42 U.S.C. §

   1320a-7b(b)(2)(A) (Payment of Healthcare Kickbacks)(Counts 10-15); 18 U.S.C. § 1956(h)

   (Money Laundering Conspiracy)(Count 16); 18 U.S.C. § 1956(a)(1)(B)(i) (Money Laundering)

   (Counts 17-30); 18 U.S.C. § 371 (Conspiracy to Commit Federal Program Bribery)(Count 31); 18

   U.S.C. § 371 (Conspiracy to Commit Federal Program Bribery and Honest Services Wire

   Fraud)(Count 32); 18 U.S.C. § 666 (Federal Program Bribery)(Count 33); 18 U.S.C. § 1503

   (Obstruction of Justice)(Count 34); 18 U.S.C. § 371(Conspiracy to Make False Statement Relating

   to Healthcare Matters)(Count 35); and 18 U.S.C. § 1503 (Obstruction of Justice)(Count 36).

          The Third Superseding Indictment also contains a Forfeiture section that provides the

   Defendant with notice of the Government=s intent to forfeit specific assets upon his conviction.

   See Indictment, ECF No. 869:42.

          On April 5, 2019, the petit jury empaneled in this case returned its Verdict [ECF No. 1245]

   in which it found the Defendant guilty of the violations charged in Count 6 (18 U.S.C. § 371 -

   Conspiracy to Pay/Receive of Healthcare Kickbacks), Counts 8-9 (42 U.S.C. § 1320a-7b(b)(1)(A)

   - Receipt of Healthcare Kickbacks), Counts 10-13 (42 U.S.C. § 1320a-7b(b)(2)(A) -Payment of

   Healthcare Kickbacks), Count 16 (18 U.S.C. § 1956(h) - Money Laundering Conspiracy), Counts

   18-21, Counts 25-28, and Count 30 (18 U.S.C. § 1956(a)(1)(B)(i) - Money Laundering), Count

   31 (18 U.S.C. § 371 - Conspiracy to Commit Federal Program Bribery), Count 32 (18 U.S.C. §

   371 - Conspiracy to Commit Federal Program Bribery and Honest Services Wire Fraud), and

   Count 34 (18 U.S.C. § 1503 - Obstruction of Justice). See Verdict, ECF No. 1245.

          On April 9, 2019, the Court conducted a bifurcated forfeiture proceeding pursuant to Fed.

   R. Crim. P. 32.2(b)(1)(A) immediately following its announcement of the Verdict. Upon




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   conclusion of that proceeding and subsequent deliberation, the same petit jury returned a Forfeiture

   Verdict [ECF No. 1263] finding that all interest held by, on behalf of, or for the benefit of the

   Defendant in the following business entities and their assets were involved in a money laundering

   offense of which it found the Defendant guilty:

                  (a)     ADME Investment Partners LTD (Operating Company)(D/B/A Oceanside

          Extended Care Center)(“Oceanside”) was involved in the money laundering offenses

          charged in Counts 16, 19 or 30, or traceable to such property;

                  (b)     Almovea Associates, LLC (Operating Company) (D/B/A North Dade

          Nursing and Rehabilitation Center) (“North Dade”) was involved in the money

          laundering offenses charged in Counts 16 or 27, or traceable to such property;

                  (c)     Ayintove Associates, LLC (Operating Company) (D/B/A Harmony

          Health Center) (“Harmony”) was involved in the money laundering offenses charged in

          Counts 16 or 20, or traceable to such property;

                  (d)     Eden Gardens, LLC (Operating Company) (D/B/A Eden Gardens) (“Eden

          Gardens”) was involved in the money laundering offenses charged in Counts 16 or 28, or

          traceable to such property;

                  (e)     Fair Havens Center, LLC (Operating Company) (D/B/A Fair Haven

          Center) (“Fair Havens”) was involved in the money laundering offenses charged in Counts

          16, 18 or 30, or traceable to such property;

                  (f)     Flamingo Park Manor, LLC (Operating Company) (D/B/A Flamingo Park

          Manor) was involved in the money laundering offenses charged in Counts 16 or 28, or

          traceable to such property; and

                  (g)     Sefardik Associates, LLC (Operating Company) (D/B/A The Nursing




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             Center at Mercy)(“Nursing Center at Mercy”) was involved in the money laundering

             offenses charged in Counts 16 or 30, or traceable to such property

   (collectively, the “Directly Forfeitable Assets”). See Forfeiture Verdict, ECF No. 1263.

             On May 16, 2019, the Defendant, through counsel, moved for acquittal on the Forfeiture

   Verdict. See Def. Mot. for Acquittal on Forf. Verdict, ECF No. 1325. Subsequently, on June 7,

   2019, the Government filed its Response in Opposition to the Defendant’s Motion for Acquittal

   on the Forfeiture Verdict. See ECF No. 1338.

             On July 1, 2019, the Court entered its Order [ECF No. 1353] denying the Defendant’s

   Motion for Acquittal on the Forfeiture Verdict. See Order, ECF No. 1353.

             On September 12, 2019, the Court imposed sentence on the Defendant. See Judgment, ECF

   No. 1387. During the sentencing hearing the United States made an ore tenus motion requesting

   the Court order forfeited the Directly Forfeitable Assets consistent with the Forfeiture Verdict,

   which the Court granted and included as part of the Defendant’s sentence in this case. See Paperless

   Entry, ECF No. 1385. The Government now seeks to memorialize that order.

                                        MEMORANDUM OF LAW

                A. Directly Forfeitable Property

             All property, real or personal “involved in” a violation of 18 U.S.C. § 1956, or any property

   traceable to such property, is subject to forfeiture to the United States. 18 U.S.C. § 982(a)(1).

   Property “involved in” a money laundering offense “includes that money or property which was

   actually laundered (‘the corpus’), along with ‘any commissions or fees paid to the launderer[ ] and

   any property used to facilitate the laundering offense.’” United States v. Seher, 562 F.3d 1344,

   1368 (11th Cir. 2009) (quoting and citing United States v. Puche, 350 F.3d 1137, 1153 (11th Cir.

   2003)).




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          If a defendant is convicted of such violation, the Court “shall order” the forfeiture of

   property as part of the sentence. See 18 U.S.C. § 982(a)(1). Criminal forfeiture is governed by

   the preponderance standard. See United States v. Hasson, 333 F.3d 1264, 1277 (11th Cir. 2003).

   Upon finding that property is subject to forfeiture by a preponderance, the Court:

          . . . must promptly enter a preliminary order of forfeiture setting forth the amount
          of any money judgment, directing the forfeiture of specific property, and directing
          the forfeiture of any substitute property if the government has met the statutory
          criteria. The court must enter the order without regard to any third party’s interest
          in the property. Determining whether a third party has such an interest must be
          deferred until any third party files a claim in an ancillary proceeding under Rule
          32.2(c).

   Fed. R. Crim. P. 32.2(b)(2)(A). To the extent there is a third-party interest to any forfeited asset,

   such claims are addressed after the property is preliminary forfeited, in third-party ancillary

   proceedings. See 21 U.S.C. § 853(k), (n); Fed. R. Crim. P. 32.2.

              B. Difference between Forfeiture and Restitution

          Both forfeiture and restitution are mandatory in criminal cases. See United States v.

   Brummer, 598 F.3d 1248, 1250-51 (11th Cir. 2010) (the word “shall” does not convey discretion

   and the district court was required to order forfeiture of the property in accordance with Fed. R.

   Crim. P. 32.2); 18 U.S.C. § 3664(f)(1)(A) (requiring district courts to order restitution in the full

   amount of each victim’s losses). Although sometimes conflated, forfeiture and restitution serve

   different purposes. “While restitution seeks to make victims whole by reimbursing them for their

   losses, forfeiture is meant to punish the defendant by transferring his ill-gotten gains to the United

   States Department of Justice.” United States v. Joseph, 743 F.3d 1350, 1354 (11th Cir. 2014)

   (citing United States v. Browne, 505 F.3d 1229, 1281 (11th Cir. 2007), United States v. Venturella,

   585 F.3d 1013, 1019-20 (7th Cir. 2009), and Libretti v. United States, 516 U.S. 29, 39 (1995)).

   Because of this distinction, the Eleventh Circuit has repeatedly held that district courts cannot use




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   restitution to offset the forfeiture amount ordered, or vice versa. See United States v. Hernandez,

   803 F.3d 1341, 1343-44 (11th Cir. 2015); Joseph, 743 F.3d at 1354 (“In light of the statutory

   framework governing restitution and forfeiture, we hold that a district court generally has no

   authority to offset a defendant’s restitution obligation by the value of forfeited property held by

   the government, which is consistent with the approach taken by the Fourth, Seventh, Eighth, Ninth,

   and Tenth Circuits.”); United States v. Bane, 720 F.3d 818, 827 n.8 (11th Cir. 2013); United States

   v. Hoffman-Vaile, 568 F.3d 1335, 1344-45 (11th Cir. 2009).

           Accordingly, the Court should issue the Government’s proposed Preliminary Order of

   Forfeiture of Directly Forfeitable Assets attached, which memorializes the Court’s forfeiture order

   regarding the Directly Forfeitable Assets; the inclusion of the forfeiture as part of the Defendant’s

   sentence and judgment in this case; and permission to conduct discovery to locate assets ordered

   forfeited.

           WHEREFORE, pursuant to 18 U.S.C. § 982(a)(1), and the procedures set forth in 21

   U.S.C. § 853 and Fed. R. Crim. P. 32.2, the United States respectfully requests the entry of its

   proposed Preliminary Order of Forfeiture of Directly Forfeitable Assets attached.

                                S.D. Fla. L. R. 88.9 CERTIFICATION

           Undersigned counsel has not attempted to confer with opposing regarding the instant

   motion, which does not seek new or additional relief, but instead merely seeks to memorialize

   relief already granted.



                                                 Respectfully submitted,

                                                 Respectfully submitted,

                                                 ARIANA FAJARDO ORSHAN
                                                 UNITED STATES ATTORNEY



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